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49500!58162(MRP)

 

KEV|N HAMMONS,
P|aintiff,

v. NO. 04-2243-BV
LASlK V|S|ON |NSTITUTE, LLC;
PEARLE VlSlON, lNC., JANIES and
T|NA FLY, dib/a PEARLE VlSlON;
DAV|D S. MURPHY, lV|.D.,

and NlA KOA, OPTON|ETR|ST,

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Defendants.

 

AGREED ORDER VACAT|NG SCHEDUL|NG DEADL|NES

 

lt appearing to the Court that the parties are in agreement based on the filing of an
Amended Comp|aint and certain Defendants having not yet filed an Answer or otherwise
plead, that the existing Schedu|ing Order in this cause should be vacated along with the
current trial date and a new Schedu|ing Order established upon the answer of the new
Defeno'ants in this cause.

lt is therefore ordered that the existing Schedu|ing Order dated April 8, 2005, is
hereby vacated and a new Scheduling Order will be established upon answer of the new

Defendants in this cause.

r\`. 3006
|T |S SO ORDERED. L>)\,\(`GS<B,.\
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TU |Vl. PHAl\/l
United States l\/lagistrate Judge

AUW'S/ gina/l

49500/58162(MRP)

Date

APPROVED FOR ENTRY:

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Case 2:04-cv-02243-.]DB-tmp Document 42 Filed 08/03/05 Page 3 of 4 PagelD 55

49500/58162(MRP)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CV-02243 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

